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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

             Plaintiff,
                                                    Civil Action No. 1:18-cv-8865-AJN-GWG
      v.

 ELON MUSK

             Defendants.


 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

             Plaintiff,
                                                    Civil Action No. 1:18-cv-8947
      v.

 TESLA, INC.,

             Defendants.




                 DECLARATION OF JASON RABE IN SUPPORT OF THE
                SECURITIES AND EXCHANGE COMMISSION’S MOTION
                            TO DISTRIBUTE FAIR FUND


I, Jason Rabe, pursuant to 28 U.S.C. § 1746, declare and state as follows:

       1.      I am a Program Manager at Rust Consulting, Inc. (“Rust”), the Distribution Agent

in this action. Pursuant to this Court’s Order from May 12, 2021 (Dkt. No. 55), Rust was appointed

as Distribution Agent for the Fair Fund.




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       2.      The Fair Fund and any interest or earnings, less Administrative Costs (the “Net

Available Fair Fund”) will be distributed to Preliminary Claimants who submitted a timely and

valid Claim Form (or “Claim”) pursuant to the Plan of Distribution (the “Plan”).

       3.      I submit this declaration (“Declaration”) in support of the Securities and Exchange

Commission’s (the “Commission” or “SEC”) motion to distribute the Net Available Fair Fund to

Eligible Claimants. I am over eighteen years of age and not a party to this action. This Declaration

is based on my personal knowledge as well as information provided to me by my colleagues. If

called to testify regarding the facts in this Declaration, I could do so competently.

                                  POSTCARD PLAN NOTICE

       4.      Rust maintains a proprietary database with names and addresses of the largest and

most common banks, brokers, and other nominees that it uses to notify record holders of class

actions and Fair Funds. Rust’s proprietary database contains 4,036 names and addresses. On May

20, 2022, Rust caused the Postcard Plan Notice to be mailed to the 4,036 mailing records contained

in the Rust record holder mailing database.

       5.      In response to the Postcard Plan Notice mailing, Rust received bulk requests from

brokers and other nominees for 26,996 Postcard Plan Notices for them to forward to their

customers. Rust also received an additional 67,102 names and addresses of Preliminary Claimants

from brokerage firms, banks, institutions and other nominees, in the form of disks, emails, labels

and lists, requesting that the Postcard Plan Notices be mailed to these individuals.

       6.      Rust leases and maintains a Post Office Box (P.O. Box 44, Minneapolis, MN

55440-0044) for the receipt of all undeliverable mail and written communications necessary to

implement the Fair Fund.


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       7.      Rust attempted to locate a new address for 1,047 Postcard Plan Notices that were

returned as undeliverable without forwarding addresses by the United States Postal Service

(“USPS”) through an information supplier to which Rust subscribes, and mailed a Postcard Plan

Notice to 87 Preliminary Claimants where an updated mailing address was identified.

       8.      In total, Rust disseminated approximately 98,221 Postcard Plan Notices to

Preliminary Claimants.

                                     SUMMARY NOTICE

       9.      In accordance with the Plan, Rust caused the Summary Notice to be published in

Investor’s Business Daily the week of May 30, 2022 and The Wall Street Journal on June 3, 2022.

Rust also caused the Summary Notice to be transmitted over the PR Newswire on June 3, 2022.

                  TOLL-FREE TELEPHONE NUMBER AND WEBSITE

       10.     Rust established a toll-free telephone number (1-877-576-9981) with an Interactive

Voice Response System (“IVR”) and live operators to assist Preliminary Claimants with questions

about the Fair Fund. This system became operational on May 20, 2022. The IVR and recorded

information are available 24 hours a day, 7 days a week. Live operators are available during

regular business hours.

       11.     Rust also established and maintains a website (www.SECvTeslaFairFund.com) that

enables Preliminary Claimants and other individuals to obtain information about the Fair Fund and

to access important documents related to the Fair Fund. The website allows Preliminary Claimants

to view answers to frequently asked questions and contains a list of important dates, including the

deadline to file their Claim Form. The Website also contains “links” to the Postcard Plan Notice,

Plan Notice, Claim Form, Plan, Plan of Allocation, and Order Approving the Plan. The “links”


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permit any person with internet access to view and download these documents at their

convenience. Preliminary Claimants could also submit their Claim Form online through the

website.

        12.      An email address (info@SECvTeslaFairFund) was also setup to provide

Preliminary Claimants with another means to contact the Distribution Agent with any questions or

to find out more information about the Fair Fund.

                                           CLAIMS PROCESS

        13.      The Postcard Plan Notice advised Preliminary Claimants that if they purchased or

acquired Tesla common stock, listed on a U.S. Exchange and registered with the Commission and

traded under the symbol TSLA during the Relevant Period,1 they may be eligible for a distribution

from the Fair Fund. To be considered, Preliminary Claimants were required to submit a completed

Claim Form with necessary documentation, and return it to the Distribution Agent postmarked no

later than September 17, 2022. Claim Forms could also be submitted on the Fair Fund’s website

no later than 11:59 p.m. EDT on September 17, 2022.2

        14.      Claim Status Notices were sent to all Potential Claimants that submitted a Claim

Form beginning on December 16, 2022. These notices advised the Potential Claimant of the

Distribution Agent’s determination of the eligibility of their Claim Form (eligible, partially or

wholly deficient, or ineligible) and their calculated Recognized Loss.

        15.      For Claim Forms found to be deficient, the Claim Status Notice provided the

reason(s) for the deficiency, notifying the Potential Claimant of the opportunity to cure such



1
  Relevant Period is defined in the Plan of Allocation as “between 12:48:16 p.m. EDT on August 7, 2018 and 4:00
p.m. EDT August 8, 2018.”
2
  In consultation with the SEC, the filing deadline was extended for another week, until September 24, 2022.

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deficiency, and provided instructions regarding further necessary actions. In the event the Claim

was denied, the Claim Status Notice stated the reason(s) for such denial and notified the Potential

Claimant of their opportunity to request reconsideration of their Claim. The Claim Status Notice

provided forty-five (45) days from the date of the notice to respond.

           16.      Rust contacted the banks, brokers and other nominees (“Nominees”) who submitted

claim/transactional data electronically to confirm their submissions and notify the filer of their

Claim(s) statuses. Rust provided all Nominees who submitted electronically filed Claims, a

Transaction Report in Microsoft Excel format, listing the individual transactions and/or entire

Claims that were found to be deficient or ineligible so that the Nominee had the opportunity to

correct the deficient condition or request reconsideration of the Claim. The Transaction Report

also identified the Claims that were in good standing and provided the calculated Recognized Loss

for each Claim listed.

           17.      Following the mailing of the Claim Status Notices, Rust received and processed

responses to documentation and information requests, as well as other correspondence relating to

the Claims.

           18.      Pursuant to paragraph 66 of the Plan, to maintain a high level of quality control,

Rust retained an independent third-party firm to perform a set of agreed upon procedures, review

a statistically significant sample of the Claims to ensure accurate and comprehensive application

of the Plan of Allocation. The final report was sent to the Commission on August 1, 2023.

           19.      Rust received and processed 6,396 Claims Forms.3 The Claims were submitted by

Preliminary Claimants either through the website (416), by submitting a hard-copy Claim Form


3
    There must be a final cut-off date after which no additional Claims or responses to Claim Status Notices may be


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(318), or electronically (5,662) using a filing template provided by the Distribution Agent. Of the

6,396 Claim Forms received, Rust recommended that 3,715 of these Claims share in the

distribution of the Fair Fund.

        20.       Prior to the disbursement of the Net Available Fair Fund, the Distribution Agent

will establish an escrow account with Huntington National Bank, and an associated (linked)

checking account. The funds transferred to the escrow account shall be invested and reinvested

pursuant to the Plan in short-term U.S. Treasury securities backed by the full faith and credit of

the United States Government or an agency thereof. As checks are presented each day, only

enough funds to cover the presented checks will be moved from the escrow account to the

associated checking account.

        21.       The balance of the Net Available Fair Fund, after taking into account a reserve for

Administrative Costs, 4 is $41,532,229.55. Pursuant to paragraph 71 of the Plan, Rust provided a

Payee List to the Commission of all Eligible Claimants and their calculated Recognized Loss and

the amount of their Distribution Payment. The finalized Distribution Payments to the 3,350

Eligible Claimants totaled $41,532,229.44.5 Eligible Claimants will receive approximately 51.7%

of their calculated Recognized Loss amount.

        22.       The Minimum Distribution Amount per the Plan of Allocation is $10.00. If an

Eligible Claimant’s distribution amount is less than this amount, the Eligible Claimant will be

deemed ineligible to receive a Distribution Payment. A total of 365 Eligible Claimants were



accepted. This is done so that there may be a proportional distribution of the Net Available Fair Fund. As a result, a
cut-off date of November 29, 2022 was established.
4
  Reserve includes $325,000.00 for future tax obligations and fees and expenses of the Tax Administrator
($37,928.92) and the Distribution Agent ($182,494.85). The reserve also includes an additional amount of
$227,100.12 to cover the unpaid Distribution Agent’s administrative costs incurred through June 30, 2023.
5
  An amount of $0.11 was not allocated due to rounding.


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excluded from the prepared Payee List as a result and shall be sent a separate notification

regarding their ineligibility.

       23.      As required by federal law, the approved list of Eligible Claimants was compared

to the OFAC (Office of Foreign Assets Control) Sanctions Lists for any potential matches.

There were no Claims identified during this OFAC screening process that would require further

information from Eligible Claimants or require removal from the Payee List.

       24.      All distribution payments shall be accompanied by a statement characterizing the

distribution, the tax treatment of the distribution is the responsibility of each Payee and the Payee

should consult his, her, or its tax advisor for advice regarding the tax treatment of the distribution,

checks will be void and cannot be reissued after ninety (90) days from the date the original check

was issued, and contact information for the Distribution Agent for questions regarding the

Distribution Payment.

       25.      A copy of the Payee List is provided to Commission with this Declaration along

with a reasonable assurances letter. As set forth in the Payee List and reasonable assurances letter,

the Net Available Fair Fund amount shall be disbursed to the 3,350 Eligible Claimants; the Payee

List was compiled in accordance with the approved Plan; it provides all currently known contact

information necessary to make a disbursement to each Eligible Claimant listed; and all of the

information on the Payee List provided to the Commission is verified as complete and accurate.

       26.       I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 21st day of August 2023.

____________________________
      Jason Rabe
    Program Manager
    Rust Consulting, Inc.

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